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                                UNITED STATES BANKRUPTCY COURT
                                             FOR THE
                                  EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

        In the Matter of:

        NICOLINE K JARAMILLO                                Chapter 13
                            DEBTOR
        USAA FEDERAL SAVINGS BANK                           Case No. 19-10400-BFK
                            Movant

               v.

        Nicoline K. Jaramillo
        and
        Thomas P. Gorman, Trustee,




                                 ANSWER AND REPORT OF TRUSTEE
                                  TO RELIEF FROM STAY MOTION

               Thomas P. Gorman, the Chapter 13 Trustee, responds to the Motion for Relief

        from Automatic Stay by noting that neither the creditor or the property were listed by

        Debtor on Schedule A, D, or E/F, nor is any foreclosure disclosed on Statements of

        Financial Affairs #9.

        Date: August 26, 2019                      __/s/ Thomas P. Gorman ____________
                                                   Thomas P. Gorman
                                                   Chapter 13 Trustee
                                                   300 North Washington Street, Ste. 400
                                                   Alexandria, VA 22314
                                                   (703) 836-2226
                                                   VSB 26421

                                    CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Answer & Report of Trustee was served via
        ECF to authorized users or mailed to counsel for the Movant and counsel for the Debtor,
        or to Debtor Pro Se, this 26th day of August, 2019.

                                                   _/s/Thomas P. Gorman___________
                                                   Thomas P. Gorman
